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'AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                 for the

                                                        Middle District of Alabama

                   United States of America                         )
                              v.                                    )
                                                                    ) Case No: 2:93CR003 10-009
                      CLARENCE SMILEY
                                                                    ) USM No: 09247-002
Date of Previous Judgment: 03/04/1998                               ) N/A
(Use Date of Last Amended Judgment if Applicable)                   ) Defendant's Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant J the Director of the Bureau of Prisons           the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
          x DENIED. i1 GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                       thelast judgment issued) of _______________________ months is reduced to _______________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    32                                          Amended Offense Level:      _____________
Criminal History Category: II                                          Criminal History Category: _____________
Previous Guideline Range: 240                    to 240 months         Amended Guideline Range: ________to ______months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
  The reduced sentence is within the amended guideline range.
  The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
X Other (explain):
                    Defendant is not eligible for reduction. He was sentenced to the statutory mandatory minimun
                    sentence.



III. ADDITIONAL COMMENTS

The Court has considered the factors set forth in 18 U.S.C. 3553(a) in making its reduction determination pursuant to 18
U.S.C. § 3582(c)(2)/Amendment 706.


Except as provided above, all provisions of the judgment dated 03/04/1998 shall remain in effect.
IT IS SO ORDERED.

Order Date:         4/22/2010
                                                                                               Judge's signature

Effective Date:                                                        TRUMAN HOBBS, SENIOR U.S. DISTRICT JUDGE
                     (if different from order date)                                          Printed name and title



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